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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

RUBY FREEMAN, et al.,

                 Plaintiffs,          Case No. 1:21-cv-03354 (BAH)

           v.                         Chief Judge Beryl A. Howell

RUDOLPH W. GIULIANI,

                 Defendant.




 ERRATA REGARDING PLAINTIFFS' RESPONSE TO THE COURT’S MINUTE ORDER
  SEEKING MORE INFORMATION REGARDING DISCOVERY ISSUES IN DISPUTE
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       Plaintiffs Ruby Freeman and Wandrea ArShaye (“Shaye”) Moss (collectively, “Plaintiffs”),

respectfully submit this short errata to address two representations in Plaintiffs’ Response to the Court’s

Minute Order Seeking More Information Regarding Discovery Issues in Dispute, ECF No. 36. Plaintiffs’

submission identifies 1,269 documents that Defendant has thus far produced to Plaintiffs, and represents

that Defendant has not searched for any documents responsive to Plaintiffs’ requests. Plaintiffs’

submission inadvertently omitted that, separate from the 1,269 documents, Defendant Giuliani also

produced 194 documents, which Plaintiffs understand were based on a search of a limited set of materials

dated over a four-month period (December 2020 through April 2021) collected from some number of

Defendant Giuliani’s devices that apparently were seized by the U.S. Government. 1 Given Mr. Giuliani’s

representations about the types of communications in which he participated, and the period of time in

which he communicated about Plaintiffs, Plaintiffs understand that the universe of documents searched

does not include all of Defendant’s personal devices, emails, and accounts, and likely represents only a

very small set of the universe of likely responsive materials.


                                                       /s/ Michael J. Gottlieb
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                                                       Attorneys for Plaintiffs Ruby Freeman and
                                                       Wandrea’ Moss




1
 There are seventeen documents that Mr. Giuliani produced, which mostly consist of public filings in the
Dominion matter or other litigation, that may be, but Plaintiffs are not certain, were among the documents
collected from the government.
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                                CERTIFICATE OF SERVICE


       I hereby certify that on March 20, 2023 a copy of the foregoing document was emailed to

Defendant Rudolph W. Giuliani via his counsel Joseph D. Sibley IV at sibley@camarasibley.com.


       Dated: March 20, 2023

                                                 /s/ Michael J. Gottlieb
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